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                                                                                                             Vacancies
                                                                                                                                                                            Responsible                     Percentage Completion
      Issue     Task #              Task                  Process For Accomplishing The Task                                      Expectation                                  Party    Start Date Deadline Complete      Date
                                                  Written plan tailored to MDC to include 1.
                                                  specifically what activities are undertaken to recruit
                                                  for each type of position, 2. who is responsible for
                                                  each activity, 3. when they take place, and 4. how
                                                  progress is measured including 5. metrics to
                                                  demonstrate what has been done and the 6.
                                                  outcome of each. 7. Tailored to MDC means defining
                                                  why someone would want to work at MDC and why
                                                  they would want to stay? 8. Examine and analyze
                                                  why people leave employment at MDC. Identify
Positions not                                     reasons why people are reluctant to work at MDC.
filled                 Recruitment Plans for all Use this information to improve the reputation and All plans will be developed and provided within 60 days of
permanently          1 positions in Vacancies Tab working conditions at MDC.                             OFFER                                                                                    12/31/2022
                                                                                                         Plan completed within 60 days to address event of vacancy.
                                                                                                         Medical director to start and be on site 9.26.22. Physician to
                                                                                                         start and be on site 10.26.22. If there is a vacancy due to
                                                                                                         resignation or termination, the position will be permanently
                                                                                                         filled or functionally filled within 60 days of the vacancy.
                                                                                                         Functionally filled means: a qualified full-time person has been
                                                                                                         assigned to the vacant role meeting all the below items: meets
                                                                                                         the job description, reveived the required training (like what
                                                                                                         permanent staff will recieve, filly functional in that role
                       FILL SITE MEDICAL                                                                 (covering similar/full shifts of permanent staff), has no impact
                       DIRECTOR AND PHYSICIAN                                                            on the timeliness and quality of care (measured through CQI
                1A     POSITIONS                  see Task 1                                             and metrics)                                                                             12/31/2022

                                                                                                        Any vacancy for physicians or midlevel providers which occurs
                                                                                                        by resignation or termination If there is a vacancy due to
                                                                                                        resignation or termination, the position will be permanently
                                                                                                        filled or functionally filled within 60 days of the vacancy.
                                                                                                        Functionally filled means: a qualified full-time person has been
                                                                                                        assigned to the vacant role meeting all the below items: meets
                                                                                                        the job description, reveived the required training (like what
                                                                                                        permanent staff will recieve, filly functional in that role
                                                                                                        (covering similar/full shifts of permanent staff), has no impact
                                                                                                        on the timeliness and quality of care (measured through CQI
                         Physician and Mid-level                                                        and metrics) Defendants will notify Plaintiffs of dates of
                         positions in event of                                                          resignation/termination within a week of the
                1B       vacancy                    see Task 1                                          resignation/termination.                                                                 on-going




                                                                                             EXHIBIT 2
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                                                                                      5 RN FTEs will be filled with permanent employees by
                                                                                     December 1, 2022. If there is a vacancy, the position will be
                                                                                     permanently filled or functionally filled within 60 days of the
                                                                                     vacancy. Functionally filled means: a qualified full-time person
                                                                                     has been assigned to the vacant role meeting all the below
                                                                                     items: meets the job description, received the required
                                                                                     training (like what permanent staff will recieve, fully functional
                                                                                     in that role (covering similar/full shifts of permanent staff), has
  Recruitment plan for                                                               no impact on the timeliness and quality of care (measured
2 permanent RN positions      See Task #1 Process                                    through CQI and metrics)                                              12/31/2022
                                                                                     The Charge Nurse positions will be filled by December 31,
                                                                                     2022. Any subsequent vacancy due to resignation or
                                                                                     termination, the position will be permanently filled or
                                                                                     functionally filled within 60 days of the vacancy. Functionally
                                                                                     filled means: a qualified full-time person has been assigned to
                                                                                     the vacant role meeting all the below items: meets the job
                                                                                     description, received the required training (like what
                                                                                     permanent staff will recieve, fully functional in that role
                                                                                     (covering similar/full shifts of permanent staff), has no impact
  Recruitment plan for        See Task #1 Process, but tailored to nurses with       on the timeliness and quality of care (measured through CQI
3 Charge Nurse positions      supervisory experience and are ACLS.                   and metrics)                                                          12/31/2022
                                                                                     The positions at the Triage Center will be filled BY December
                                                                                     31, 2022. Any subsequent vacancy due to resignation or
                                                                                     termination, the position will be permanently filled or
                                                                                     functionally filled within 60 days of the vacancy. Functionally
                                                                                     filled means: a qualified full-time person has been assigned to
                              See Task #1 Process but tailored to the Triage Center. the vacant role meeting all the below items: meets the job
                              In particular why are these positions separated out? description, received the required training (like what
                              Why are they not part of the pool of nurses who        permanent staff will recieve, fully functional in that role
                              rotate through the assignment? Is there something (covering similar/full shifts of permanent staff), has no impact
  Recruitment plan for        about the workplace environment that is                on the timeliness and quality of care (measured through CQI
4 Triage Center positions     unappealing? Address any of these issues.              and metrics)                                                          12/31/2022
                              See Task #1 Process. Tailored recruitment plans may
                              be necessary for other types of personnel; if so they
                              should be developed in written form. A specific plan
  Recruitment plan for all    to reduce the number of positions filled by agency To provide sufficient personnel to ensure contracted services
5 other vacant positions.     nurses needs to be established.                        are delivered on time, are clinically appropriate and safe.           12/31/2022
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                                                         1. Establish a standing agenda and recurring time to
                                                         discuss recruitment metrics and outcomes with MDC.
                                                         2. Use this information to modify recruitment plans
                                                         in writing as necessary. 3. Positions that are vacant
                                                         more than 90 days and vacancies which exceed 15%
                                                         for any single type of personnel are emphasized. 4. Communicate substantively on recruitment effort and
                             Track and report progress Alternatives to providing the service should be           demonstrate results, collaborate in revision of recruitment
                           6 with recruitment to MDC. discussed and these decisions documented.                  plans.                                                               12/31/2022
                             Establish and implement
                             a plan to provide           1. Secure onsite locum tenums coverage. 2. Consider
Interim coverage             physician services at the telehealth coverage for chronic care, H & P, detox,
is insufficient and          site in the interim until return from off-site care, and/or urgent care medical Provide relief for the two NPs, reduce back logs and increase
there is risk of             the two positions are       decision making. 3. Discuss other options for           physician involvement in planning and provision of patient
harm.                      7 filled.                     increased primary care coverage with MDC.               care, to include securing locum tenums coverage.                     12/31/2022
                                                         As physcians/mid-level providers may unexpectedly
                                                         leave employment at the site or a provider may
                             Establish back up plan to otherwise be unavailable to prevent lapses in care Consider engaging a consultant to provide consulting on how to
                             ensure continuous           and physician and mid-level care, consider              build a local provider network (Community Oriented
                             provision of physician      consulting with COCHS to build framework for local Correctional Health Care (COCHS) is the most obvious resource)-
                      7A     services at the site.       providers to fill in gaps.                              dependent on plan would take this step if necessary                  12/31/2022
                             Ensure that in the event                                                            Within 60 days of offer, Defendant's vendor complies with this
                             of a vacancy or absence,                                                            provision or Defendant otherwise ensures coverage is
                             positions in the staffing                                                           provided. On a montlhy basis, the County will provide (1)
                             pattern which deliver                                                               reports reflecting vacancis and absences of key positions and
                             clinical care services,     Ensure that in the event of a vacancy or absence,       other clinical staff which include the name of ther person, title,
                             including physicians, mid- positions in the staffing pattern which deliver          date of vacancy and name of person providing coverage and
                             level providers, nurses, clinical care services, including physicians, mid-level hours of coverages provided, (2) The monthyly invoices
                             are covered at all times by providers, nurses, are covered at all times by          refelcting itemized staffing absence creditsm vacancies of key
                      7B     PRN/locums                  PRN/locums                                              positions and liquidated damages assessed.                           12/31/2022
                             Inform staff of long range
                             recruitment plans and
                             interim coverage            Inform staff of each recruitment plan, provide
Staff morale has             arrangements. Provide       metrics to staff on recruitment activities and results.
been effected by             regular updates on          Inform staff of interim arrangements for coverage.
vacancies and                recruitment activities and Identify and make opportunities for staff to             Staff are informed about steps being taken to fill vacant
turnover.                  8 results.                    participate in recruitment efforts.                     positions and arrangements for interim help.                         12/31/2022
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                                                                                            Policies & Procedures

                                                                                                                                                         Responsible Start            Percentage Completion
           Issue           Task #        Task               Process For Accomplishing The Task                             Expectation                      Party    Date    Deadline Complete      Date
                                                                                                         P&P devloped pursuant to this Task will
                                                                                                         belong to MDC and will not change with
                                                                                                         medical vendor. Develop P&P that are
                                                                                                         specific to MDC. At a minimum the                MDC
                                                                                                         topics covered by P & P should coincide         Contract
Lack of policies and              Develop policies     Map out core processes to include a pre-booking with NCCHC standards and conform to               Compliance
procedures to describe            and procedures       triage etc. Provide core process maps to MDC for MDC policies. Audit tools are developed          Monitor in
specifically how work is          that are specific    review. Make a list of P & P that need to be      and used to measure compliance with             conjunction
accomplished at MDC.            1 to MDC.              drafted.                                          each P & P.                                     with HSA             1/1/2023
                                                       Suggest this is a responsibility of the Assistant
                                  Assign               H.S.A. Includes drafting P & P, managing a
                                  responsibility for   workgroup to review drafts and provide feedback
                                  managing the         on needed revisions, making revisions into final
                                  initial drafting     form, review finalized P & P with effected staff,
                                  and annual           document training each staff member received, Responsibility for managing policy and              MDC
                                  review of vendor     establish performance expectations and audit      procedure development,                          Contract
                                  P & P specific to    tools to measure compliance and competency for implementation and review is assigned              Compliance
                                2 MDC                  each P & P.                                       to one individual.                              Monitor              1/1/2023

                                                       Use core process maps as the basis for content of
                                                       the facility specific P & P. Determine who needs to    Draft P & P are reviewed by personnel
                                                       review draft P & P and timeframe in which review       responsible for oversight of the health
                                                       can realistically be done. Draft P&P s should go out   care program as well as those expected
                                                       for review and comment as they are completed.          to perform work according to the P & P.    MDC
                                                       Recommend a process to distribute several at a         A reasonable deadline is established for   Contract
                                  Draft facility       time for review, establish a timeframe for getting     review and comment. After the review       Compliance
                                3 specific P &P        comments back, and process for final approval.         and comment period P & P are finalized.    Monitor              1/1/2023
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                                              Establish a standing work group that meets weekly
                                              to receive review assignments, report progress
                                              obtaining review feedback, provide comments on
                                              drafts, and finalize facility specific P & P. Keep
                                              these meetings short (15 min) basically to manage
                                              forward progress and accountability to get work
                                              done in the interim. Suggested group should be
                                              chaired by Assistant H.S.A.; suggested workgroup
                                              members are MDC contract compliance monitor,
                                              Admin Assist, DON, Nurse Educator, and subject         Specific people are assigned to review
                                              matter experts based upon the topic. Someone           and comment on draft P & P. They are    MDC
                                              from MDC needs to be included on the workgroup         also responsible for obtaining the      Contract
                             Distribute for   so that MDC participates in the review of drafts       review and comments of others (as       Compliance
                           4 review.          and provides feedback on needed revisions.             assigned).                              Monitor        1/15/2023
                                              Sign, date final policies. Set effective date so                                               MDC
                                              there is sufficient time to train staff. Suggest                                               Contract
                                              finalizing several P & P at a time, usually around a                                           Compliance
Affected parties are not                      common topic i.e.. Intake P & P and distributing       Staff have the knowledge, skills, tools Monitor in
involved in changed                           for implementation rather than when all P & P are      and other resources to perform work in cojunction
processes.                 5 Finalize P & P   complete.                                              compliance with the P & P.              with medical    2/1/2023
                                              Training plan needs to address all staff not just
                                              shift workers. Methods of training may be
                                              different for various types of personnel. The plan
                                              should specify what training method will be used
                                              to convey performance expectations to each
                                              member of the staff, including agency, PRN or
                                              locum tenums workers. The training plan must
                                              specify when training will be provided, who is
                                              responsible and how staff knowledge and ability
                                              to perform consistent with P & P will be
                                              demonstrated (written test, discussion with
                                              supervisor, demonstration etc.) . The plan includes
                             Develop plan to steps to be taken when new staff are brought on                                                  MDC
Staff are not trained        ensure all staff to train them on the P & P, evaluate their             There is a plan to train and implement   Contract
sufficiently in new          are trained to   knowledge and proficiency and document                 the P & P with deadlines for             Compliance
processes.                 6 the P & P.       competency to perform in accordance with P & P.        completion.                              Monitor        3/1/2023
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                                                                                                                  MDC
                                                                                                                  Contract
                                                                                                                  Compliance
                                                                         Provide training to medical and security Monitor in
   Provide training    Deliver training per the plan. Document           staff (as appropriate) on P&Ps.          cojunction
   to staff on P &     completion of training and demonstration of       Demonstrate progress implementing P with medical
 7 Ps.                 proficiency for each staff member.                & P.                                     vendor         4/15/2023
   Ensure that staff                                                                                                           2/1/2023-
   have access to P                                                                                             MDC            rolling
   & P and know                                                                                                 Contract       deadline as
   where to find       Usually this is on a shared drive. Knowledge of P & P are available and staff access     Compliance     policies are
 8 them.               where to access P & P should be spot audited.   them.                                    Monitor        finalized
                                                                       Individual performance is monitored by
   Audit                                                               supervisors. Supervisors provide         MDC
   performance                                                         individual and group training and        Contract
   consistent with P Each P & P has an audit tool developed while the coaching to improve staff performance.    Compliance
   & P, provide      policy is being drafted to measure performance in Program performance measures are         Monitor in
   feedback and      compliance with the P & P. Audit tools may        audited and reported at CQI meetings.    cojunction
   take action to    include observation, chart review, review of logs Plans to improve performance are         with medical
 9 improve.          or other documentation, tests of knowledge etc. developed based upon audit results.        vendor         04/15/2023
                     Review and revision of P & P does not need to be
                     as elaborate as the initial development and
                     implementation. However it does need to include
   Establish         review of audit findings, consider process                                                 MDC
   schedule and      improvements, and solicit input from affected                                              Contract
   methodology to parties. Revised P & P need to be distributed and                                             Compliance
   conduct the       staff informed of changes to P & P. Verify staff                                           Monitor in
   annual review knowledge and competency to perform consistent                                                 cojunction
   and revision of P with P & P annually and documented as part of     P & P are current and staff know         with medical
10 & P.              performance review.                               performance expectations.                vendor         1/1/2023
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   Other written
   guidelines need
   review, may
   need revision,
   and periodic     List other written guidelines used to guide staff
   verification that
                   performance such as nursing encounter tools,                                                  MDC
   staff have been nursing intervention guides, clinical guidelines,                                             Contract
   trained and are and infection control. Assign persons to be                                                   Compliance
   competent to    responsible for each. Use steps 1-10 to manage                                                Monitor in
   perform the     review, revision, documentation of training and      Set review schedule so that Other        cojunction
   work as         performance competency for other written             written guidelines are current and staff with medical
11 expected.       guidelines .                                         know performance expectations.           vendor         1/1/2023
                   Progress is reported on the development, review
   Report progress and revision of written guidelines as a standing
   on revision of agenda item at CQI meetings. These reports
   written         include progress training staff and establishing                                              MDC
   guidelines      competency. A dashboard with benchmarks                                                       Contract
   referenced in should be developed to visually show progress          Report progress on revision of written   Compliance
12 Topic #11.      toward deadlines.                                    guidelines.                              Monitor        2/1/2023
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                                                                                                  McClendon
                                                                                                                                                          Responsible   Start            Percentage Completion
             Issue              Task #           Task           Process For Accomplishing The Task                        Expectation                        Party      Date    Deadline Complete      Date
                                                                The County and its Vendor will
                                                                implement a MEAC team. This includes
                                                                County employees and YesCare's
                                                                "dedicated personnel specificially
                                                                assigned to oversee decree
Defendant and its vendor have                                   compliance" and other participants         The vendor has a clear plan for a process to
not achieved compliance with                                    identified by the County and vendor.       measure their performance in relation to the
the McClendon Settlement               Establish a McClendon See 4.1.28.2 for outline of vendor's          Settlement Agreement. Plan to be in effect
Agreement                            1 Core Process Program commitment to process.                         and provided to County and Parties.                                  1/15/2023
                                                                The Duvall Team included a manager
                                                                and coordinator for the process of
                                                                improvement, a data analyst, an RN
                                                                auditor, and Director of Operations.
                                                                Determine what roles and
                                                                responsibilities for each McClendon
                                                                team member. Identify persons for
                                                                each role on the team. Orient, train and
                                                                familiarize each team member with
                                                                their responsibilities and the role of
                                                                others on the team. Familiarize selves
                                                                with the McClendon Settlement
                                                                Agreement and the Check Out Audit.
                                                                Review the Monitor's April 2022 report
                                                                and subsequent report. Determine, in
                                                                consultation with the Monitor, the
                                       Establish and identify areas to be audited and at what              The Monitor agrees with the vendor's plan
                                     2 team members.            frequency.                                 and tools to monitor their performance.                              1/15/2023
                                                                Develop audit tools with the input and
                                                                final agreement of the Monitor. Audit
                                                                tools 1. define what the goal of the
                                                                audit is, 2. describe how the sample is
                                                                selected and the 3. size of the sample.
                                                                4. Audit questions are developed and
                                                                used to review records or observe the
                                       Develop audit tools to process of care delivery. 4.
                                       evaluate performance Performance thresholds are
                                       in relation to the items established and 5. terms defined. 6.
                                       in the Settlement        The method to score performance
                                     3 Agreement                against the threshold is defined.          See Column D                                                         1/15/2023
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                              Personnel who are responsible for
                              performing the audit and the analysis
                              of results pilot the tools to determine if
                              they measure what was intended and
                              that the data is meaningful and reliable
  Pilot audit tools and       (the same results would be achieved by
  evaluate results. Revise    another auditor). Revise tools as
  tools based upon            necessary to clarify terms and
  evaluation to increase      processes and improve sample
4 validity and reliability.   selection.                                   See Column D                                     1/15/2023
                              Determine the minimum times each
                              audit will be performed annually (more
                              frequent in the beginning) in
                              consultation and with the approval of
                              the Monitor. The frequency of each
  Establish the audit         audit may reduce as sustained
5 calendar.                   performance is demonstrated.                 See Column D                                     1/15/2023
                              The audit results are presented
                              monthly to the leadership team and
                              discussed. The results are also provided
                              to the Monitor by the leadership team
                              and discussed. The audit teams'
                              summary of results also includes
                              recommendations which are discussed          Plans to correct or improve performance are
  Assign and conduct          with leadership to determine action          developed as a result of the audit results and
6 audits per schedule.        plans to address findings.                   analysis of performance.                         1/15/2023
                              The report summarizes results for each
                              six month period, action plan steps
                              taken and outcomes achieved. Areas of
                              attention for the subsequent six month       The biennial report is provided in advance of
  Prepare a biannual          period are described. The report is          the Monitor's site visits and his compliance
7 report of performance.      provided to MDC and the Monitor.             report.                                          1/15/2023
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                                                                                                                         Collaboration & Communication

                                                                                                                                                                                                                         Responsible Start         Percentage Completion
             Issue                 Task #               Task                       Process For Accomplishing The Task                                                   Expectation                                         Party    Date Deadline Complete Date
                                                                           Plans for changed processes at MDC are communicated
                                                                           in written and verbal form. Health care leadership use
                                                                           the operational huddle to identify information staff
                                                                           need to have on a daily basis and ensure all members of
                                                                           the leadership team have the same information so the
                                                                           message is consistent at all organizational levels.
                                          Communicate outcomes to be Information is provided verbally and in writing at staff
Staff need information and                achieved from the vendor's meetings. Minutes of meetings are taken, distributed
training to support changes that          plan for change, the agreed and widely available for review. Progress accomplishing
are necessary to improve health           upon CAP and expected            change is displayed visually so staff can see at a glance
care at MDC.                            1 timeframes to staff.             what has been accomplished and what is left to do.        Staff are knowledgeable and engaged in necessary change at MDC.                                       12/31/2022
                                          Establish a daily operational
                                          huddle to inform and manage
                                          the daily process of service Members of the huddle need to know the status of each
                                          delivery. Physician/mid-level area of service delivery, the priorities of the day for each
                                          provider on shift and charge member of the leadership team need to be                      Provide standing agenda and daily sign-in sheets for daily operational huddles to
                                          nurse on shift will participate. communicated, needs for assistance with daily tasks Plaintiffs on the first and fifteenth of each month (bi-montly basis) beginning 90
                                          Information from the huddle identified and resolved. Review the standing agenda for days from date of offer. Sign in sheets must indicate the credentials and titles of
                                          will be made available to        the daily operational huddle with the Monitor to ensure each participant and a physcian or mid-level provider must participate in each
                                        2 providers, charge nurses, and it addresses the areas that need to be covered daily. huddle.                                                                                                      12/31/2022
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                                                                                                                          Patient safety is ensured because important information is provided when
                                                                                                                          treatment decisions affect other care the patient is receiving. MOU shall be
                                                                                                                          memorialized to include: Medical vendor shall, 1) at a minimum report patients'
                                                                                                                          current MAT medications to MAT vendor within 4 hours of intake (intake is defined
                                                                                                                          as medical intake and recieving screen) 2) Evidence attempts to verify MOUD ASAP
                                                                                                                          after intake and no later than 12 hours. Policy should include timeslines for
                                                                                                                          following up and escalating. The 12 hours is to accomodate out of state
                                                                                                                          perscriptions. Because 80-90 percent of people will be instate, other attempts
                                                                                                                          should be sooner. 2A) If a patient reports non-prescription suboxone use in the
                                                                                                                          community, vendor also reports this including any information about amount and
                                                                                                                          last use to MAT vendor 3) All vendors must have access at all times to information
                                                                                                                          about what Rx medication an individual is on, the dosage, and the Dx it is used to
                                                                                                                          treat. 4) All vendors have access at all times to information about a patient's
                                                                                                                          "problems list" and vital signs. 5) the rational for denial or discontinuation of
                                                                                                                          medical treatment must be documented. 6) Any patient withdrawing from MAT or
                                                              Define clinical information that each party needs to        other substances recieves medically managed withdrawal. 7) MAT vendor shall at a
                                Establish a memorandum of make available to the other in the care and management minimum provide MDC and medical vendor daily with a. documentation of
                                understanding or working      of shared patients and the mechanism to make this           date/time/amount of dosing for each patient receiving MAT, b. documentation of
                                agreement with the vendor information available. Information that needs to be             rational for any denial or discontinuation of MAT to any MDC inmate. This
Patients have been harmed       responsible for MAT and ATP "pushed" to the other party should be delineated from documentation shall be made a part of each inmate's primary MDC medical file. 8)
because information was not     regarding information sharing that which is available as needed in establishing           the MOU will contain other information treating providers and Defendants identify.
shared between treating         and access to patient         mechanisms for exchange of information. Implement 9. MOU will identify what needs to be "pushed" and will establish mechansims for
providers.                    3 information.                  the agreement.                                              exchanging pushed information as needed.                                                  12/31/2022
                                                              Identify the status of this program in Albuquerque and
                                                              criteria for participation. Identify the steps necessary to
                                Participate in the Health     participate and proceed with a plan to attain               Participate in the HIE with a bi-directional interface. Any EMR will interface directly
                              4 Information Exchange          participation status.                                       with the NM Health Information Collaborative.                                             12/31/2022
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                                                                     MDC has provided training for officers on common
                                                                     medical emergencies. However there are still instances
                                                                     of poor communication by both officers and health care
                                                                     staff. This task is to initiate an effort to regular
                                                                     communication between officers and Med 1 nurses
                                                                     when there is no urgency. An example would be to have
                                                                     the Med 1 nurse (assume they rotate through this
                                                                     assignment) and one of the charge nurses attend roll call
                                                                     once a week or some other regular schedule. The
                                                                     purpose for attending is to create a regular opportunity
                                                                     for dialogue, to provide information, answer questions,
                                                                     hear concerns, or provide a brief training. Another
                                                                     process could be substituted for the one described here
                                                                     but it needs to include participation by line staff
                                                                     responsible for responding to officers reporting urgent
                                      Increase opportunities for     or emergent concerns about health conditions. Another
Communication between                 meaningful communication and alternative is to have a Med 1 nurse responsible for          Create plan for increasing communication between security and medical to include                                  12/31/2022-
officers and health care staff is     dialogue between officers and health related part of annual officer training. The same     either Med1 participation in roll call once a week or to provide annual training in                               create
not always timely and                 nurses regarding health        could be said to improve communication both ways            order to ensure Communication between line staff is timely, accurate and                                          1/31/2023-
responsive.                         5 matters.                       between nurses assigned detox rounds and officers.          responsive. Implement plan and provide plan to Plaintiffs-                                                        implement
                                      Missed opportunities to
                                      communicate relevant
                                      information about a detainee's Emergency response evaluation tools and adverse event                                                                                                           12/31/2022-
                                      condition are considered in reviews are revised to identify and reflect on missed or       1. Create/revise emergency response tools for adverse events to identify/reflect on                 create
                                      every emergency debriefing poor communication. These are trended and used to               missed or poor communication; 2. Trend and use emergency response tools to                          1/31/2023-
                                    6 and adverse patient safety     develop improvement projects.                               develop improvement projects                                                        Natalie Vance   implement
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                                                                                                    Automation
                                                                                                                                                        Responsible   Start            Percentage Completion
        Issue          Task #           Task                 Process For Accomplishing The Task                            Expectation                     Party      Date    Deadline Complete      Date
                                                         List and describe the features of the electronic
                                                         record staff are expected to be proficient with.
                                                         This may vary by type of position. Features
                                                         include how information is entered into the        The processes that are followed to enter
                                                         record, how tasks and patient care are tracked,    and retrieve information from the
                                                         how to identify work that needs to be done, and    electronic record are in written form and
                                                         how various reports are developed and what         available for use as a reference, for
The new vendor                Define the                 they are used for. This is equivalent to a user    building proficiency among users and to
introduced a new              expectations of staff      manual or curriculum to train new staff. Inform    train new staff. Expectations for                                 9/23/22 (60
electronic health             use of the electronic      staff of specific expectations regarding           proficiency in the use of the electronic                          days from
record.                     1 record.                    proficiency in use of the electronic record.       record have been made clear to staff.                             offer)
                                                         Assess staff proficiency performing tasks with
                                                         the electronic record to identify skills or
                                                         knowledge that needs remediation by re-
                                                         training, coaching, etc. Survey staff as to the
                                                         impediments they experience using the
                                                         electronic record. Identify staff with superior                                                                      10/24/22
Staff are not yet             Assess proficiency         skills and enlist their help working with others   Staff will be provided with training,                             (90 days
proficient in use of          staff currently have       who are less capable. Identify needs for           coaching and other assistance (quick                              from offer
the new electronic            using the features of      additional support in use of the electronic        guides, checklists etc.) to attain                                to allow
record.                     2 the electronic record.     record.                                            expectations for proficiency.                                     for survey)
                                                         Develop plan to improve staff proficiency based
                                                         upon the assessment and survey results. Share
                                                         plan with MDC for endorsement and set
                                                         deadlines and benchmarks. Share plan with
                               Bring staff proficiency   affected staff. Implement plan, document
                              in use of the              training, coaching and remedial support
                              electronic record to       provided. Revaluate skills and knowledge.          Provide evidence that all staff are                               11/25/22
                              the level defined in       Report progress and results at staff meetings,     receiving training and skill building                             (120 days
                            3 task 1 above.              leadership meetings and to MDC.                    according to a plan.                                              from offer)
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                              Agency staff are not
                              proficient in use of  Develop a plan to ensure that all agency staff                                                   9/23/22 (60
                              the EMR, including    are proficient in use of the EMR to the level                                                    days from
                        3A    use of NETS, etc      defined in task 1 above.                            same as lns 2 and 3                          offer)
                                                    Problem areas identified to date include
                                                    incomplete or inaccurate problem lists,
                                                    identification of patients with chronic disease,
                                                    lists of patients needing to be monitored for
                                                    one or more conditions (i.e. detox), inability to
There are problems                                  track completion of tasks - i.e. order
with the accuracy and          Identify problem     implementation, prioritization of urgency for       Prioritize and manage the work needed to     11/25/22
completeness of                areas in use of the  scheduling follow up and specialty care,            address issues with the use of the           (120 days
information in the             electronic health    incomplete history, physical exam, and plan of      electronic record. Provide Plaintiffs with   from offer
new electronic                 record to manage     care and failure to provide information about       report on problems identified and plan to    to allow
record.                      4 patient care.        the patient to providers in the community.          remedy.                                      for survey)
                                                    Evaluate workflow and navigation in the
                                                    electronic record for each identified problem
                                                    area. Review and assess the templates in use
                                                    and revise as necessary to increase clinical
                                                    detail and documentation of the plan of care.
                                                    For each problem area evaluate root causes and
                                                    human factors that are contributing. Identify
                                                    solutions for each problem area and what steps
                                                    will be taken to eliminate it or minimize its
                                                    impact on patient health and safety. Report
                                                    progress to leadership weekly and summarize
                               Identify methods to progress at staff meetings. Develop "work            Provide evidence that problem areas are
                               address each problem arounds" until the problem has been                 being addressed and to communicate
                             5 area identified.     satisfactorily addressed.                           solutions.                                   12/31/2022
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                                                 Identify information about patient care that
                                                 needs to be tracked, reviewed and monitored.
                                                 Determine the content and frequency of each              eOMIS provides information and reports
Staff need                                       report (by shift, daily, weekly, monthly etc.).          to monitor and manage the provision of
information from the      Identify information   Determine the distribution list for each report,         patient care, reports are generated,
electronic record to      needed to manage       the person responsible for running the report,           distributed, monitored, and acted on
plan and manage the       and monitor patient    the person(s) responsible for reviewing the              appropriately by the identified health
flow of patient care.   6 care                   report and by when.                                      care staff.                              12/31/2022
                                                 Build lists as identified in 6. Use of lists will vary
                                                 depending upon purpose. Periodically monitor
                                                 whether information routinely available is
                                                 accurate and serving the intended purpose;
                        7 Provide information    revise as necessary.                                                                              12/31/2022
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                                                                                                      Medical Emergency Response
                                                                                                                                                                                  Responsible   Start            Percentage Completion
         Issue             Task #              Task                         Process For Accomplishing The Task                                     Expectation                       Party      Date    Deadline Complete      Date
                                                                  a. Establish a list of equipment and supplies that is to be
                                                                  available during every emergency. This list should include
                                                                  material that is taken when responding to the site of an
                                                                  emergency and material that is stationed in the clinic. b.
                                                                  Determine the quantities to be on-hand and re-order levels
                                                                  for each item. c. Establish procedures and quantity of
                                                                  material so that a crash cart/emergency man down bag is
                                                                  always available. This may mean having multiple carts/bags
                                                                  if there are multiple simultaneous emergencies and
                                                                  capacity to restock quickly. d. Establish procedures to check
                                                                  at each shift change the integrity of the crash cart/man
                                                                  down bags, the availability of items not in the crash
                                                                  cart/man down bags (neck collar, back board, stretcher, WC
                                                                  etc.)the functionality of equipment (AED, suction, O2 etc.)
                                                                  and availability of supplies (O2 sufficient quantity etc.). e.
                                  Establish a process to ensure Assign responsibility for maintaining equipment and
Emergency equipment               that appropriate equipment supplies, restocking , checking availability and functionality
and supplies are not              and supplies are available      at shift change. f. Provide documentation that emergency         Sufficient equipment and supplies are
always available at the           and functional when             equipment and supplies are sufficient and functional on a        available and functional for response to
time of a man down                responding to medical           daily basis. Documentation should include porcedures and         every emergency. Implement steps in
call.                           1 emergencies.                    checklist.                                                       Column D.                                                            12/31/2022
                                                                  Map out the desired process for preparation and response
                                                                  to medical emergency. Identify steps that need to be taken
                                  The response to medical         to achieve the desired process, with benchmarks and
Lack of finalized policy          emergencies is consistent       deadlines. Allow for staff input into the desired process as     The response to medical emergencies is
and procedure for                 with a facility specific policy well as input and review by MDC. Finalize the process into       prompt, consistent with policy, procedure
medical emergency                 and procedure which aligns written facility specific policy and procedure. Provide               and other written guidelines and community
response.                       2 with MDC PNP HCA 12.37.         evidence that staff are knowledgeable of the P & P.              standards. Implement steps in Column D.                              12/31/2022
                                                                  Provide evidence that all other staff expected to respond to
                                                                  medical emergencies are trained to do so. This includes at a     The response to medical emergencies is
                                                                  minimum health provider BLS, assessment and response to          prompt, consistent with policy, procedure
                                                                  common emergencies, the ERTs, clinical indicators and            and other written guidelines and community
Health care staff are                                             procedures for contacting providers, accessing EMS,              standards - this is accomplished through
unfamiliar or                                                     transport to the ED, documentation and debriefing the            training and established with documentation
unpracticed in                                                    response. There is documentation that each staff has the         that each staff member (or agency staff) has
responding to medical             Train staff in emergency        knowledge and demonstrated skill in responding to                the documented knowledge and skill in
emergencies.                    3 medical response.               medical emergencies.                                             responding to medical emergencies.                                   12/31/2022
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                                                                                                                        Provide plan to achieve a 4 minute response
                                                                                                                        to medical emergencies by an ACLS provider
                                                                                                                        and a roster of all staff who are ACLS
                            Initiate the plan to achieve a See Final Negotiation Letter, Exhibit C changing section     certified. On a montly basis provide Expert
                            4 minute response to medical 4.1.2.3.6 of the RFP. Also implement the expectation that      and Plaintiffs shift rosters demonstrating
                            emergencies by an ACLS         the Medical Director (or designee) attend the monthly        that there is an ACLS provider scheduled for
                          4 trained provider.              meeting of the City of Albuquerque Medical Control Board. each shift.                                            12/31/2022
                            Conduct a root cause analysis
                            as to why communication
                            between medical and            Telephone does not always appear to be reliable for
                            security is not always         notification of a medical emergency. The evaluation needs
                            effective to initiate          to include consideration of why these failures occur and
                            emergency responses when identification of corrective measures to ensure prompt
                            appropriate: Evaluate          notification and response. Careful consideration should be include evaluation of secuity coordination
Telephone notification      equipment and processes for given to having redundancy in the process to prevent            and if there is a problem, will look at fixing it
of medical                  notification of a medical      delays or failure. For example, if security calls Med 1 and  d- changed . Security will use the telephone
emergencies                 emergency and eliminate        there is no answer, have Med 1 phone roll to Med 3. Or if and/or radio to intiate emergency medical
sometimes fails and         factors that cause delays in security calls Med 1 and there is no answer, security is to    responses. Medical will always answer the
delays care.              5 such notification.             immediately call on the radio for medical assistance.        phone and radio and respond appropriately.          12/31/2022
                                                           Establish a process that ensures patients are brought to the
                                                           medical clinic after return to the facility, the patient is
                                                           assessed and the discharge paperwork reviewed, orders for
                                                           continued care obtained, ordered care is initiated, and the
                            Persons receiving off site     follow up appointment scheduled to take place no later
                            emergency care are seen by a than the end of the next day. The follow up appointment
There are delays in         practitioner within 24 hours with the patient is in person (telehealth could be             There are no delays in follow up or
follow up and               of return to the facility.     considered here) and includes a review of the patient's      discontinuity in care when patients
continuity of care upon     (Note: If telehealth were      condition, findings and recommendations from the ED or       experience a medical emergency. Patients
return from the ED or       increased elsewhere the        hospital and documentation by the practitioner of the plan are seen by a practitioner (MD, PA, NP)
hospital after having a     onsite mid levels should be of care, including rationale for not following any              within 24 hours of return to the facility from
medical emergency.        6 prioritized to do this.)       recommendation from off site providers.                      off-site care.                                      12/31/2022
                                                           a. A log should be kept or report obtained listing any
                                                           patients who have been responded to emergently.
                                                           Information should include presenting symptoms, time of
                                                           notification, time of response, names of those who
                                                           responded, whether a provider was contacted, whether
                                                           EMS was contacted and if the patient was transported the
                                                           time and destination, and the outcome (time of return,
                                                           hospitalization, or death). b. This information would be
                                                           reviewed at the daily operational huddle and assignments
                                                           to monitor the patients care and follow up appointment
                                                           made. c. A more thorough review of the record should be
                                                           completed by the DON that day and any issues identified
                            Identify information needed reported to the appropriate leadership personnel and
                            and generate reports so that corrective action taken as necessary. This review and
                            managers and clinical leaders corrective action should be documented. d. A member of
                            are knowledgeable about        the leadership team has a regular assignment to monitor      a. keep an emergency log or produce a report
                            medical emergencies, the       completion of the emergency response equipment checks as described under process for achieving
                            response, and ensure that      and emergent urgent services log. Any issues with            tasks. B. review at the daily huddle C. DON
                            follow up care is timely and emergency equipment or supplies is brought up at the daily conduct reviews as described in column D. D.
                          7 appropriate.                   huddle for resolution.                                       monitor completions of logs                         12/31/2022
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                                                        Develop an audit tool that evaluates the readiness for
                                                        response to emergencies, timeliness of initial notification
                                                        and response, whether the appropriate equipment and
                                                        supplies were brought to the site, whether the steps
                                                        outlined in P & P and the ERTs were followed, whether a
                                                        staff trained in ACLS responded etc. Audit results should be
                                                        provided in feedback to individual staff and in aggregate to
                         Emergency response is          CQI with trending and analysis. The Monitor should have
                         audited for timeliness and     input and approve the audit tool, including sample             Emergency response is audited for
                       8 clinical quality.              selection and audit frequency.                                 timeliness and clinical quality.                 12/31/2022
                                                        Develop a clinical audit tool that evaluates patients who
                                                        have had emergent episodes of care for ambulatory
                         Develop a process to           sensitive conditions (seizure, alcohol and/or substance
                         clinically review medical care withdrawal, skin or deep tissue infections, DKA, abdominal
                         in the months prior to a       pain, or chest pain) to identify opportunities to improve       Audit and tracking: Develop a process to
                         medical emergencies for        primary care in the three months prior. Audit results should   clinically review medical care in the months
                         ambulatory sensitive           be provided in feedback to individual staff and in aggregate   prior to a medical emergencies for
                         conditions to determine if     to CQI with trending and analysis. The Monitor should have     ambulatory sensitive conditions to
                         there are opportunities to     input and approve the audit tool, including sample             determine if there are opportunities to
                       9 improve primary care           selection and audit frequency.                                 improve primary care                             12/31/2022
                                                                                                                        All deaths and morbidities (including but not
                                                                                                                       limited to serious injury requiring
                                                                                                                       hospitalization, inention or unintention
                                                                                                                       overdose/suicide attempt, serious
                                                                                                                       illness/complication from illness, CPR
                                                                                                                       performed, complications from procedures,
                                                                                                                       instance of permanent patient harm,
                                                                                                                       prolonged hospitalization not related to the
                                                                                                                       natural course of the patient's illness, when
                                                                                                                       intervention is required to sustain life) are
                                                                                                                       reviewed promptly in a comprehensive
                                                      Every morbidity & mortality review should include a              morbidity and mortality format that includes
                                                      description of the emergency (if applicable) and the             participation by MDC. Opportunities for
                                                      corresponding response. Steps need to be taken to review         improvement are identified in the
                                                      care antecedent to the medical emergency or morbidity to         immediate response as well as antecedent
                                                      determine if there are opportunities for improvement in          care provided. Documentation of results,
                                                      the patient's care during the period of detention at the jail.   analysis, and feedback and coaching for
                                                      The results of these reviews are used by supervisors to          individual staff is documented. Establish
                                                      provide feedback and coaching of individual staff.               process for medical staff to report and track
                                                      Aggregate results are analyzed and trended for discussion        incidents likely to need an M&M review.
                                                      by the CQI committee. Improvement plans are used to              Staff designated to perform M&M reviews
                         Establish a comprehensive, guide improved processes and performance. The Monitor              should meet monthly to review incident
                         timely process to review     should be consulted on how to develop a process for              tracking list, designate incidents for formal
                         every death and morbidity    thorough review of deaths and morbidities as part of the         review and being review process. M&Ms
Mortality review         event to identify            M&M process. There should be a defined process to report         should be completed within 3 months of
process is not well      opportunities to improve the and track deaths, medical emergencies and morbidity              incident. M&M reports provided to Expert
established at MDC    10 system of care.              events that require an M&M review.                               and Plaintiffs monthly.                          12/31/2022
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                                                                                                            Intake Screening
                                                                                                                                                                            Responsible   Start                 Percentage   Completion
         Issue           Task #            Task                        Process For Accomplishing The Task                                    Expectation                       Party      Date    Deadline       Complete       Date
                                                             Map the current and desired steps in intake screening to
                                                             include pre-booking and the identification of persons who
                                                             cannot be accepted for detention until cleared by a
                                                             medical center, those who need urgent medical attention
                                                             and those who require medical monitoring for withdrawal
                                                             management. Identify steps taken to triage and prioritize
                                                             intake screening for individuals who need urgent medical
                                                             attention or withdrawal management. Assess the physical
                                                             location, tools available and privacy provided for intake
                                                             screening. Evaluate the template used to document intake
                                                             screening to ensure that screening is sufficiently                 Complete and meaningful Intake
                                                             comprehensive to identify individuals with infectious             screening is accomplished no more than
                                                             disease, continue treatment that was initiated in the             four hours after arrival at RDT or the
                                                             community, initiate care for other identifiable conditions        triage center, whichever is sooner, and is
The timeliness and              Use the Core Process for     that require medical attention, and arrange for safe              completed by an appropriately licensed
accurateness of intake          intake to identify factors   housing and appropriate medical follow up. Assess the             and supervised medical worker. Provide
screening needs                 causing intake screening     education, training and degree of clinical supervision            Expert and Plaintiff documentation of the
improvement.                  1 to be untimely.              provided to develop skills to perform intake screening.           template evaluation, and any CAP                                   12/31/2022
                                                             Review these steps with MDC to obtain support for
                                                             needed changes. Review process changes with affected
                                                             staff to enlist their cooperation. Provide training,
                                                             equipment and needed to ensure timeliness of intake               Provide listed steps to Expert and
                                                             screening. Establish performance expectations for timely,         Plaintiff. Priovide documentation of
                                List the steps to be         thorough intake screenings and assess staff competency to         process changes, performance                                       10/24/22
                                taken to accomplish          perform intake screening. Document this evaluation and            expectations, and competency                                       (90 days
                              2 timely intake screening.     periodically repeat the evaluation of competency.                 evaluations                                                        from offer)
                                                             The intake core process needs to include methods of
                                                             informing management of the status of the intake queue
                                                             to include the numbers of priority individuals in intake
                                                             and how long they have been there. Individual staff
                                                             should be identified for assignment to intake when there
                                                             is a delay in intake screening. A manager (Charge RN)
                                                             needs to be readily available to facilitate intake screening
                                                             throughout the shift. Establish mechanisms for
                                                             prospective reporting from intake. Intake numbers and
                                                             screening status should be reported at least beginning,
                                                             middle and end of shift. Arrangements need to be made in
                                Monitor and supervise        advance to handle surges in intakes (standby staff,
                              3 the intake process.          availability of providers, clerical assistance with ROIs etc.).   Implement processes in Column D                                    12/31/2022
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                                                                                      There are no missed doses of medication
                                                                                      once intake screening takes place. This
                         This task requires that staff have a method to verify        applies to medications provided by any
  Ensure that medication medication, are trained and proficient in its use, and are vendor prescribing medications (e.g.
  verification is        aware of the priority for medication continuity. Establish a YesCare, RSNM). Provide Expert and
  completed timely and metric that makes clear the timeframe in which this is to Plaintiffs with the metric making clear
  bridge medication      be accomplished and who is responsible for each step in the time frame and the method(s) used
4 initiated.             getting bridge orders initiated.                             to verify medication.                            12/31/2022
                          A process needs to be established to abstract the Sapphire
                          record for information about each detainee's health status
                          and diagnosis as part of intake screening. Important
                          information would include diagnoses, chronic clinic notes,       Medical records will be complete and
                          any hospitalizations or ED visits, any off site specialty care   include pertient information from
  Information from        recommended or provided, last medication administration          Sapphire and eOMIs (past incarcerations).
  Sapphire is not updated record. This could be accomplished by medical records            Medical staff, including providers, will
  in eOMIS after          staff the day following intake. The abstract information         have access to and know how to access
  readmission to MDC or should be reviewed with a provider who will determine              Sapphire. Documentation of the process
  for those who have      what information should be added to the eOMIS record             is provided to Plaintiffs and the Expert.
  been incarcerated since and incorporated into the continued care of the patient.         This information will be updated in the
  before the October 2021 This necessity of this process can be revisited as time          patient's eOMIS record the day following
5 vendor/EMR change.      passes and the information in Sapphire is less relevant.         intake.                                     12/31/2022
                          Establish an audit tool for the intake process. Audit
                          questions should concern whether each step was
                          completed timely (medication verification, orders
                          obtained, alerts entered, treatment initiated, safely
                          housed), whether the information obtained was thorough
                          (follow up questions asked to amplify answers), accurate,
                          and comprehensive. Also if the steps taken to initiate
                          plans for care were clinically appropriate. This audit
                          should be completed by Charge Nurses weekly until
  Audit the timeliness,   performance is improved and sustained. Audit results             Persons are identified who need medical
  thoroughness and        should be presented and discussed at weekly leadership           care and appropriate timely care
  quality of clinical     team meetings. Near misses in intake screening                   initiated. Audit tool is developed and
  assessment and          identified using the audit tool should be reviewed to            timeliness, thoroughness and quality of
  decision making in      determine opportunities for improvement with staff               clinical assessment and decision making
6 intake.                 affected and discussed at CQI meetings.                          in intake is audited.                       12/31/2022
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                                                     Establish an intake screening process with MDC that allows
                                                     medical staff to review a patient's history and allows the
                                                     input of all information into a single medical record
                                                     thereby eliminating the need entirely for later merging
                                                     medical intake repcrds with an OMS file and historical
                                                     medical record. If such a process cannot be establuied,
                           Establish an intake       the medical vendor shall ensure that all intake screenings
                           screening process that and temporary "T" numbers are merged with
                           allows intake to access corresponding OMS and historical medical records within
                           medical histories, and to 24 hours of a patient's arrival at RDC. Medical intake shall
Information is not         have the information ask and record whether a patient has been booked under See Column D - Provide Expert and
available at and after     available to medical      any other name to ensure maximum information is              Plaintiffs with a concise explanation of
intake                   7 following intake.         available.                                                   the plan and process                       12/31/2022
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                                                                                         MAT & Withdrawal Management
                                                                                                                                                             Responsible   Start                Percentage Completion
          Issue            Task #                   Task                    Process For Accomplishing The Task                   Expectation                    Party      Date    Deadline      Complete     Date
                                                                                                                       Persons being monitored for
                                                                                                                      withdrawal symptoms are always
                                                                           Document the process for medical to        housed where constant monitoring
                                                                           communicate withdrawal status and need is provided. Individuals housed in
                                                                           for a watch to security. Consider this     cells have watcher who is separate
The number of inmates on                                                   being more than the provision of an MDC- from the pod officer. Any pod
withdrawal protocol                 Evaluate the resources needed for      42. Charge nurse and shift commander       housing individuals who are
exceeds the space available         constant monitoring in the context     confer each shift to identify individuals withdrawing from substances
to safely monitor their             of the population requiring            withdrawing from substances and confirm cannot be left unattended at any
condition.                  1A      withdrawal management.                 officers/watchers for watch.               time.                                                        12/31/2022
                                                                           Determine if protocols are appropriate
                                                                           given local patterns of substance use
                                                                           withdrawal and revise if needed.
                                                                           (Corporate and MDC should do this).
                                    Review and revise withdrawal           Educate, train, and coach custody staff    Withdrawal management processes
                                    protocols for all substances to        responsible for monitoring people in       are consistent with the community
Improve patient care                determine whether they are             withdrawal and demonstrate that staff      standard of care and are provided to
through medical-security            appropriate given local patterns of    with these responsibilities are proficient the Addiction Treamtment Advisory
communication.             1B       substance use and withdrawal.          and competent in this process of care.     Board for review.                                            12/31/2022
                                                                           Create a FAQ or information sheet to be
                                                                           posted at officer desks in pods with any
                                                                           individuals withdrawing that identifies
                                                                           signs and symptoms of withdrawal, the
                                                                           dangers, and when to contact medical and
                                                                           when to call a Code-43 or Code Blue.
                                                                           Counsel security that waiting for detox
                                                                           nurses to round is not alway a sufficient
                                                                           response to witnessing an individual
                                                                           exhibiting symptoms (e.g. repeated
                                                                           vomiting, shaking). Counsel medical staff
                                                                           that they must respond appropriatly
                                                                           when security or other medical staff
                                    Educate both medical and security      contact them regarding a patient
                                    staff of the life-threatening nature   exhibiting withdrawal symptoms. If the Health care staff are informed by
                                    of withdrawal symptoms and             decision is made to wait until the next    officers when persons on
                                    eliminate the mentality that           detox round for the LPN or any medical     monitoring demonstrate symptoms
                                    people are "just detoxing." Ensure     staff to assess that patient, the clinical and medical uses appropriate
Improve patient care                that health care staff are contacted   rational must be documented by the         clinical decision making to see the
through medical-security            by security when persons on            appropriate decider either in the MED-1 patient timely in response. See
communication.             1C       monitoring demonsrate symptoms.        log or via patient note.                   Column D.                                                    12/31/2022
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                                                                     In lieu of receiving a written work plan as
                                                                     described by Ms. Knox, the County shall
                                                                     make Dr. Stacy available for a meeting
                                                                     with Plaintiffs to last up to two hours to
                                                                     discuss withdrawal treatment and SUD
                                                                     issues. This meeting is separate from
                                                                     access meetings. Following the meeting                                                 Meeting to
                                                                     with Dr. Stacy, a written work plan will be                                            be set
                                                                     provided. The County will also make Dr.                                                ASAP and
                               Define the immediate work plan        Stacy available for some, but not all         Withdrawal management processes          no later
Improve withdrawal             for the Addiction Specialist and      access meetings with reasonable notice        are consistent with the community        than
management processes.        2 obtain MDC endorsement.               (more than 48 hours) of the agenda.           standard of care.                        12/21/22
                                                                     A. Begin providing suboxone for
                                                                     withrdawal management as set out in the
                                                                     contract and consistent with community
                                                                     standards of care B. Ensure provision of
                                                                     methadone or subxone within 24 hours of       See Column D. All medication
                                                                     intake (see Medication Management)            administered or denied for
                                                                     either through bridge order or MAT            withdrawal management, including
                                                                     vendor for those entering current on          suboxone and methadone, will be
                                                                     medications. C. Revise P&Ps to comply         documented in each inmate's
                                Provide methadone and suboxone with community standards of care for                medical file or EMR (YesCare or
                               consistent with Section 4.6.5 of the MAT inductions. And comply with all            primary MDC medical vendor) and
                             3 County's RFP.                         other provisions of 4.6.5                     included on the detox list.              12/31/2022
                               Clearly define the parameters for
                               referral to practitioners,                                                           Implement parameters and ensure
                               expectations for direct practitioner-                                               any necessary changes are made to
                               patient contact during withdrawal,                                                  P&Ps regarding withdrawal
                               and clinical oversight of nursing                                                   manamgement. Provide
                               staff who complete withdrawal                                                       documentation to Parties and
                        4A     assessment.                                                                         Expert                                   12/31/2022
                                                                                                                    Addiction specialist on-
                                                                    This was a recommendation of Dr. Stern         boarded/certified. Addiction
                                                                    representing the Addiction Treatment           specialist provides clinical oversight
                                                                    Advisory Board during the vendor               of withdrawal management and
                                                                    selection process. One of the existing         addication treatment. Participation
                                                                    psychiatrists should be engaged and            in clincial management is
                                                                    assisted ($) to obtain this certification.     documented. Any subsequent
                                                                    This psychiatrist should participate and       vacancy is filled within 90 days with
                               Obtain a certified addiction         provide clinical oversight for withdrawal      corporate providing support in the
                        4B     specialist on staff at MDC.          management and addiction treatment.            interim.                                 12/31/2022
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                                                                1. Educate, train, and coach staff
                                                                responsible for assessing and treating
                                                                symptoms of people in withdrawal and
                                                                demonstrate that staff with these
                                                                responsibilities are proficient and
                                                                competent in this process of care. 2.
                                                                Ensure that assessments include inquiry
                                                                of the correctional officer responsible for
                                                                monitoring the patient, provision of
                                                                hydration, and inquiry of the patient
                                                                about suicide or self harm. 3.
                                                                Documentation in the EMR should take
                                                                place as the withdrawal assessment is
                         Improve the accuracy and               being completed. If this is not happening,    Staff performance is consistent with   1. 12/31 ; 2.
                         timeliness of withdrawal symptom develop a plan to achieve                           expectations and tasks outlined in     1/15/23; 3)
                       5 assessments and treatment.             contemporaneous documentation.                column D have been accomplished.       1/31/2023
                                                                The audit needs to include timeliness,
                                                                quality of assessment and communication
                                                                of results, appropriateness of decision
                                                                making and the plan of care. The audit
                                                                should also coincide with clinical
                                                                guidelines for withdrawal management
                                                                and facility specific P & P. Audit
                                                                frequency should be based upon risk to
                                                                patient safety. More frequent spot audits
                                                                using portions of the tool may be used to
                                                                accomplish rapid change and feedback
                                                                where necessary to promote process
                                                                improvement. There should also be a
                                                                schedule and assignment to randomly
                                                                observe withdrawal assessments in
                                                                person and via remote camera. Results of
                                                                these audits are used by supervisors to
                                                                provide feedback and coaching of
                         Establish, in consultation and         individual staff. Aggregate results are       Audit is developed and Barriers to
                         approval of the Monitor, an audit      analyzed and trended for discussion by        safe and effective withdrawal
                         tool that captures all of the steps in the CQI committee. Improvement plans          management are identified and
                         the withdrawal process. Audit          are used to guide improved processes          addressed through audits, use of
                       6 withdrawal management.                 and performance.                              audit data, and improvement plans.     12/31/2022
                                                                Information needed includes the number
                                                                of patients in withdrawal, a measure of
                                                                their acuity, likely time left on the
                                                                withdrawal protocol, the particulars of
                                                                high acuity or deteriorating patients, and
                                                                any issues encountered in the previous 24
                                                                hours and the outcome. This information
                                                                needs to be reviewed at the daily
                                                                operational huddle and is included in the
                                                                change of shift report between nurses
                         Pertinent information is available assigned to withdrawal protocols and the           Reports containing the necessary
                         and used by leadership to manage shift change nurses. Clear parameters are           information, to include that set out
Monitor and manage       the workflow of withdrawal             defined for when escalation up the chain      in column D, are generated and
withdrawal workflow.   7 management.                            of command is to take place.                  reviewed daily                         12/31/2022
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                                                                                                                    Revise intake receiving tool to
                                                                                                                    include 1) date AND Approximate
                                                                      Revise intake receiving tool to include 1)    TIME of last use of any substance; 2)
                                                                      date AND Approximate TIME of last use of      subjective information about
                                                                      any substance; 2) subjective information      previous withdrawal symptoms
                                                                      about previous withdrawal symptoms            (e.g. seizures, hallucinations, DTS,
                                                                      (e.g. seizures, hallucinations, DTS,          suicidality) relevant to particular
                                                                      suicidality) relevant to particular type of   type of withdrawal. This is to be
                                                                      withdrawal. This is to be revised with the    revised with the instruction of Dr.
Intake receiving screening                                            instruction of Dr. Kumar; 3) whether          Kumar; 3) whether currently on
does not contain sufficient      Intake receiving screening           currently on methadone, suboxone, or          methadone, suboxone, or vivitrol,
information for medical          sufficient information for medical   vivitrol, and if yes the dose and the         and if yes the dose and the
decision making                8 decision making                      provider.                                     provider.                               12/31/2022
                                                                      It is critical to start withdrawal
                                                                      medications and comfort medications
                                                                      timely - generally this is before the on-
                                                                      set of withdrawal symptoms. Given the
                                                                      timing of admissions and rounding,                                                    11/22/22
                                 Withdrawal medications are not       providers should be contacted at              Need to see current SAW to              (120 days
                               9 initiated or provided timely         admission for orders.                         determine what steps                    from offer)
                                                                      1. Retrain detox nurses on COW/CIWA-ar
                                                                      questions and meaning of symptoms an
                                                                      ensure competency 2.
                                                                      Supervise/observe/audit detox nurses to
                                                                      ensure assessments completed
                                                                      appropriately 3. Revise Flowsheet to
                                                                      reflect the questions to ask to assess
                                                                      COW/CIWA-ar scores 4. Audit
                                                                      documentation to ensure any score is          Complete tasks in Column D to
                                 COWS/CIWA-AR scores do not           supported by data (e.g. the current           ensure patients are being assessed      11/22/22
                                 accurately reflect patient's         electronic scores state a number, but do      appropriately for withdrawal            (120 days
                              10 withdrawal symptoms                  not reflect what that number is based on)     symptoms                                from offer)
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                                                                                                                 Sick Call
                                                                                                                                                                               Responsible   Start            Percentage Completion
        Issue            Task #               Task                          Process For Accomplishing The Task                                 Expectation                        Party      Date    Deadline Complete      Date
                                                                   Use results of the core process assessment to identify
                                                                   interventions to improve timeliness. The resulting
                                                                   process should include ensuring availability of sick call
                                                                   forms on the housing units, daily pick up of requests,
                                                                   immediate triage to determine whether the request is an
                                                                   administrative matter that can be addressed without
                                                                   seeing the patient (i.e.. request for medication refill) or
                                                                   the complaint is symptomatic which requires a face to
                                                                   face encounter and the urgency with which it is to take
                                                                   place. Requests determined to have emergent priority
                                                                   are seen immediately after triage, urgent requests no          Requests for health care attention are
                                                                   later than end of the day and routine requests no later       responded to timely, requests are
                                Use the Core Process for sick      than the end of the next day. All requests are entered into   entered into the electronic health record
                                call to identify factors causing   the electronic health record when received, the urgency is    when they are received, and the urgency
Requests for health             untimely responses to patient      also indicated and encounters scheduled according to          is indicated and encounters scheduled
care attention are not          requests for health care           urgency. Clerical assistance with data entry and              with the appropriate level of medical
responded to timely.          1 attention.                         scheduling needs to be considered.                            staff acording to the urgency.                                      12/31/2022
                                                                   At the beginning of the shift the DON and charge nurse
                                                                   need to know how many requests have been received,
                                                                   how many need to be seen by level of urgency and how
                                                                   many requests received the day before still need to be
                                                                   seen. They also need to know how many requests will be
                                                                   addressed administratively. This information is used to
                                                                   staff the work that needs to be done that day. As the day
                                                                   progresses they need to know how many are yet to be
                                                                   seen and the urgency. Requests to be addressed                 Provide documentation that the sick call
                                                                   administratively also need to be tracked including who is     list is accurate and uptodate to include
                                Improve information available      responsible for addressing the request, that this             evidence that sick calls are triaged
                                to manage workflow necessary       individual was informed and have taken responsibility.        appropraitely and patients are seen by
                                to respond appropriately to        Information on the number of requests that need to be         an RN or provider appropriately. (it is
                                requests for health care           seen and progress through the day should be                   not sufficient to show that a sick call was
                              2 attention.                         communicated to MDC.                                          receieved on a certain date and triaged)                            12/31/2022
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                                                       The DON or delegated charge nurse should obtain a report
                                                       of the number of health requests received, the number
                                                       that are emergent, urgent, routine and administrative and
                                                       discuss this at the daily operational huddle to include
                                                       identification of staffing necessary to accomplish timely
                                                       response to each. Any issues that may affect timely
                                                       completion are identified and steps to address the
                                                       problem, assigned and initiated. Mid shift or mid day and
                                                       at the end of the shift or workday the DON or charge
                                                       checks the progress completing scheduled sick call
                                                       encounters and takes action necessary to ensure timely
                                                       response. If custody operations is contributing to delay
                          The daily operational huddle the DON makes immediate contact with their custody
                          should be used to manage the counterpart to request assistance. At the end of the        1. Accurate reports will be completed ,
                          work flow needed to respond workday the number of requests that are left to be seen      daily huddles will occur. 2. Sick call Lists
                          to requests for health care  or addressed is provided and incorporated into the          and daily sign-in sheets will be provided
                        3 attention.                   operational plan for the next day.                          to Expert and Plaintiffs on montly basis.      12/31/2022
                                                       Nurses should have access to the electronic record when
Treatment protocols                                    seeing patients so that the NET & ERT template is used to
and tools are not                                      achieve more comprehensive documentation. Provide
consistently used and                                  evidence that nurses have been trained and demonstrate       1. Nurses have access to electronic
nursing assessments                                    competency in triage decision making, history and           records when seeing patients. 2. All
are not                                                assessment of complaints and common medical                 nurses, including agency nurses,
comprehensive or          Assess the competency of     conditions, and decisions on the disposition of the         demonstrate competency as described
detailed.               4 nurses conducting sick call. complaint.                                                  in column D                                    12/31/2022
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                                                          Develop a tool to evaluate the quality of nursing
                                                          assessments and appropriateness of clinical decisions
                                                          with emphasis on correct use of the NETs and ERTs. Audit
                                                          should include observation and skill demonstration as
                                                          well as chart review. Audits samples should be comprised
                                                          of at risk patients. Individual nurses should receive
                          Evaluate the quality and        regular feedback for continuous improvement. Aggregate
                          completeness of nursing         results of these audits are also trended to identify
                        5 assessments.                    subjects for additional training and development.           See Column D.                           12/31/2022
                                                          Evaluate sick call encounters taking place on the housing
                                                          units to determine what steps to improve privacy are
                                                          necessary. This evaluation should also address the tools
                                                          and equipment necessary to conduct a history and
                          Address the lack of privacy and assessment consistent with the NETs and ERTS and            Sick call encounters are sufficiently
                          other issues with sick call     contemporaneous documentation in the electronic             private to complete and document an
Lack of privacy for       encounters taking place in the record. Establish a plan of correction. Seek necessary       appropriate history and assessment
sick call encounters.   6 housing units.                  support for the changes from MDC.                           consistent with written guidelines.     12/31/2022
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                                                                                                                  Medication Management
                                                                                                                                                                                                      Responsible                     Percentage Completion
             Issue                 Task #                 Task                                  Process For Accomplishing The Task                                      Expectation                      Party    Start Date Deadline Complete      Date
                                                                              a. Make a list of current medication practices that are problematic. It
                                                                              appears that these include medication verification at intake and upon
                                                                              return from off-site care, delays in initiation of medication treatment
                                                                              upon intake and off site care, delays to first dose of ordered medication,
                                                                              continuity of medication especially when a renewal order is needed,
                                                                              timeliness of medication administration and documentation of doses
                                                                              administered, missed and refused. b. For each of the problem areas
                                                                              identified map the process and identify the factors that contribute to the
                                                                              likelihood that a problem will occur. For example does the practice of
                                                                              batching verbal and telephone orders contribute to delays in first dose
                                                                              because of timeframes used by pharmacy to package medication. Are
                                                                              appropriate stock medications available etc. How does non-formulary
                                                                              review contribute to delays or discontinuity of important medications?
                                                                              c. Identify changes in the process that would correct or mitigate each
Patients do not have needed                                                   problem, identify equipment or supplies that would address each
medication initiated timely,                                                  problem etc. d. Draft the recommended changes into a plan, identify the
medications are missed or                                                     information needed to know if the change worked, share the problem
discontinued that should not be,          Re-evaluate medication              and plan with affected staff and enlist their buy-in, provide training,      Necessary medications are initiated and
medication is administered                management processes and identify equipment and supplies needed as a result of the changed process,              continued. Processes set out in Column
untimely, providers are not               problems that occur with current    implement and measure the change. e. Progress toward improvement             D are accomplished and documentation
notified of non-adherence.              1 practices.                          needs to be measured and communicated to staff and leadership.               provided to Plaintiffs and Expert.                               12/31/2022
                                                                              Medication management is dependent on and impacts many different
                                                                              parts of the health care program and the jail operation. It also carries
                                          Request technical assistance with   significant risk to patient safety and is expected to comply with
                                          this review from a systems engineer pharmacy regulations. Most health care programs do not have the
                                          or process improvement specialist internal expertise to address the complexity of this process. The              Request and obtain technical assistance
                                          (someone certified in Lean/Six      improvement process should also consider technical and equipment             as set out in column C. This assistance
                                          Sigma). This person and Corporate solutions to improve timeliness and accountability such as automated           can be provided by an outside consultant
                                        2 can begin work on task 1 and 3 now. dispensing, provider order entry etc.                                        or appropriate YesCare employee.                                 12/31/2022
                                                                              a. Evaluate information flow in medication management and automate
                                                                              as much of this workflow as possible. For example, are providers
                                                                              prompted automatically for medication renewals, are providers notified
                                                                              of consecutive refusals automatically based upon the MAR. Is patient
                                                                              location accurate when medications are due? What report is available to
                                                                              show medication not that needs to be administered or not
                                                                              administered? b. Define what information is needed by staff to perform
                                          Establish information needed to     the work required and build processes to automate this as much as
                                        3 manage medication workflow.         possible.                                                                                                                                     12/31/2022
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                                                                           When processes change, management determines what training and
                                                                           other resources are needed by staff to carry out the new methods. There
                                                                           is a plan and timeframes to accomplish this. Progress toward staff
When processes change staff        Determine what training or              readiness is reported at weekly leadership meetings. Staff proficiency in     Competency to perform changed
are not adequately informed or     information needs to be provided        performing changed procedures is evaluated. There is documentation of         processes is demonstrated and
trained.                         4 various personnel and provide it.       demonstrated competency.                                                      documented.                                12/31/2022
                                                                           Develop an observation tool to audit medication administration against
                                                                           the steps in the facility specific policy and procedure. Audit medication
                                                                           administration to identify system challenges and performance practices
                                                                           that cause deviation from P & P. Use results of audits to provide
                                                                           feedback and coaching for individual staff and aggregate results with          Unsafe practices in medication
                                                                           trending and analysis for CQI. Another tool should be developed to            administration and documentation are
                                                                           audit whether documentation on the MAR was correct and complete.              identified and addressed. Audit tool for
                                   Develop tools to audit medication       The input and approval of the Monitor should be sought in the                 medication administration developed
                                 5 administration.                         development of criteria measured and sample selection instructions.           and in use.                                12/31/2022
                                   Develop tools to audit a. timeliness
                                   to first dose at intake and after new   Facility specific policies and procedures should serve as the basis for the
                                   orders are received, b. medication      criteria in these audit tools. The input and approval of the Monitor
                                   continuity for refills and renewals,    should be sought in the development of criteria measured and sample           Barriers to timely, safe medication
                                   and c. notification to providers of     selection instructions. Use results of audits to provide feedback and         management are identified and
                                   refusals and steps taken by providers   coaching for individual staff and aggregate results with trending and         addressed. Audit tool developed and in
                                 6 to address non-adherence.               analysis for CQI.                                                             use                                        12/31/2022
                                                                           Establish performance metrics for time from last dose of substance to
                                                                           first dose of withdrawal medication, time from order to first dose of
                                                                           other medications, orders not yet processed, delayed delivery of
                                                                           medication to the facility, delays or missed doses of medication
                                                                           administered, refills or new orders needed but not complete. Develop
                                                                           reports that can be reviewed and discussed by leadership and mangers
                                   Pertinent information is available      at the daily operational huddle and adjustments made to address
Monitor and manage workflow        and used by leadership to manage        missing or delayed medication treatment. Some of this information is
associated with medication         the workflow of medication              also needed for the change of shift report. Clear parameters are defined Provide performance metrics and begin
management.                      7 management.                             for when escalation up the chain of command is to take place.            providing reports.                               1/23/2023
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                                                                                       Chronic Medical Conditions
                                                                                                                                                    Responsible   Start            Percentage Completion
     Issue       Task #             Task                   Process For Accomplishing The Task                           Expectation                    Party      Date    Deadline Complete      Date
                                                     1. Assign or appoint a physician within the vendor's
                                                     network to manage CC at MDC. 2. Finalize the policy
                                                     and procedure for chronic care at MDC. Finalize
                                                     clinical practice guidelines used for chronic care.
                                                     Evaluate current resources and personnel to
                                                     accomplish CC consistent with the P & P and
                                                     guidelines. Identify additional resources that may
                                                     be needed and incorporate into a plan with
                        Until the Site Medical       benchmarks and deadlines to complete. 3. Provide
                        Director position is filled  education, training, coaching or technical assistance
There is no             appoint a physician          for staff assigned to CC. 4. Consider establishing a
organized               responsible to initiate and telehealth chronic care clinic in the interim while       Complete each enumerated
chronic care            manage the chronic care      two FTE physician positions are vacant to take          process and implement a
program               1 program at MDC.              workload off the two nurse practitioners.               functioning chronic care program                             12/31/2022
                                                     Depending upon what was provided at the time of
                                                     the transition (was a chronic care roster provided or    The chronic care roster is accurate
                                                     was it only of those persons detained at the time?)     and kept up to date to include all
                                                     the vendor's roster of CC patients will not be          patients with documented chronic
                                                     accurate unless the Sapphire record has been            conditions before and after
                                                     reviewed to identify if the person had a chronic        YesCare obtaining the contract.
                                                     condition. The vendor should review the records in      Provide Plaintiffs and Expert
                                                     Sapphire of any detainee currently in population to     Chronic Care roster to include
                                                     determine if they were being followed in CC by the      Patient information, diagnoses,
                                                     previous vendor. The Sapphire record also needs to      date of first and next chronic care
                        Evaluate and establish the be reviewed as part of intake screening going             visit, and other information
                        accuracy of the chronic care forward. Also review whether there are people           identified by Expert and
                      2 roster.                      identified as CC who do not need to be enrolled.        County/vendor                                                12/31/2022
                                                     Based upon current population determine how
                                                     many CC appointments need to take place each
Chronic care                                         week in order to maintain timeliness. Assign staff
encounters are          Establish a schedule of      necessary to accomplish the CC workflow. Establish
not timely              chronic care appointments metrics to monitor the workflow of CC (e.g. if a           Appointments for CC are timely.
(initial and            that results in timely CC    clinic is cancelled how soon are they to be             Provide metrics to Expert and
follow up).           3 encounters.                  rescheduled).                                           Plaintiffs.                                                  12/31/2022
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                                             The daily operational huddle (see Tab 4, Ln 2)
                                             should be used by leadership to review the number
                                             of CC appointments scheduled to take place that
                                             day, identify any barriers to completing these
                                             appointments (lack not done, transport issues etc.),    Leadership is aware of and
                                             and any backlog. Adjustments to the schedule,          intervenes to remove barriers to CC
                                             assignments, needed notifications or other steps       workflow. Sign in sheets from daily
                                             are identified to address barriers and personnel       huddle provided to Expert and
                                             assigned to address each step. Issues not resolved     Plaintiffs; chronic care clinic
                   Manage the workflow of    from the day before are also reported and              calendar provided to Expert and
                 4 chronic care.             additional steps identified.                           Plaintiffs on a monthly basis.        12/31/2022
                                             Evaluate current documentation templates and
CC evaluations                               revise as necessary to ensure that they support
are not                                      clinician expectations for documentation of CC
comprehensive                                clinical practice guidelines. Evaluate CC workflow     CC encounters are consistent with
or consistent                                to identify steps or processes that could be           the CC Policy & Procedure and
with clinical                                eliminated or streamlined to support the provider      Clinical Guidelines. Provide
practice           Evaluate the quality of   completing a thorough and comprehensive CC visit.      documentation of evaluations to
guidelines.      5 clinical documentation    Evaluate provider proficiency with CC expectations.    Expert and Plaintiffs                 12/31/2022
                                             Use the Monitor's report and recommendations
                                             regarding chronic care to develop an audit tool that
                                             evaluates the timeliness of initial and follow-up
                                             care, completion of diagnostic testing, and
                                             implementation of orders. The audit also needs to
                                             evaluate whether clinical guidelines were
                                             followed, the reason for deviation documented
                                             and the appropriateness of clinical decisions about
                                             the patient's condition and follow up. Audit results
                                             should be provided in feedback to individual
                                             clinicians and in aggregate to CQI with trending and
                                             analysis. The Monitor should approve the audit
                   Audit the quality and     tool, including sample selection and audit             Audit the quality and timeliness of
                 6 timeliness of CC.         frequency.                                             CC.                                   12/31/2022
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                                                                                                                            This could be
                                                                                                                            started now
                                                                                                                            although
                            Individuals responsible for chronic care meet to                                                membership
                            review more complex cases in a multidisciplinary                                                may change
                            meeting. Complex cases includes patients with                                                   over time.
                            mental health co-morbidities, frail/elderly persons     Difficult or complex patient care is    H.S.A. should
                            especially those with multiple CC conditions, high      managed by an interdisciplinary         be responsible
                            acuity conditions, and those whose condition is         team through implementation of          for leading the
                            considered poor or deteriorating. This meeting          case management practices in the        meeting and
                            includes staff most involved with the patient and       CC program. Document                    ensuring the
                            may include custody, classification, discharge          interdisciplinary meeting notes in      appropriate
  Implement case            planners, and others. The frequency each patient's      corresponding patient files as a file   parties are
  management practices into care is reviewed is based upon their current clinical   review and document meeting was         included
7 the CC program            status and disease progression.                         held on CC list.                        including MH.     12/31/2022
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                                                                                                            H&P
                                                                                                                                                           Responsible   Start                    Percentage Completion
      Issue           Task #                      Task                             Process For Accomplishing The Task                   Expectation           Party      Date     Deadline         Complete     Date
                                                                              Map the current and desired process to complete
                                                                              H & Ps. Assess the training and degree of clinical
                                                                              supervision provided to develop skills to perform
                                                                              H & Ps. Assess the physical location, tools           The initial health
The initial and                                                               available and privacy provided for H & Ps. Evaluate   appraisal is
periodic health              Conduct a root cause analysis to determine       the template used to document the health              comprehensive and
assessment is not            reasons for the lack of detail and insufficient assessment. Use results of the root cause analysis     the plan of care is
completed timely             plans of care in the initial and periodic health to identify interventions which will improve          appropriately
nor is it thorough.        1 assessments.                                     comprehensiveness and detail in H & Ps.               detailed.                                     12/31/2022
                                                                              Review the report daily to identify appraisals that Initial and periodic
                             Establish or obtain a report that tracks initial need completion and schedule staff to complete health appraisals are
                           2 and periodic health appraisals.                  them based upon prioritization of need.             completed timely.                               12/31/2022
                                                                                                                                  Workflow is managed
                                                                                                                                  and monitored so
                                                                              The DON should review the report in advance of backlogs are not
                                                                              the daily operational huddle and prepare to         created. Provide
                                                                              report the plan for that day, any expected          documentation that
                                                                              obstacles, back up plans, remediation necessary reports are generated
                             Report progress with completion of health        from the day before, and help needed or alerts      and reviewed by DON
                           3 appraisals at the daily operational huddle.      necessary.                                          or designee.                                    12/31/2022
                                                                                                                                  The backlog of health
                                                                                                                                  appraisals is
                                                                                                                                  eliminated. Provide
                                                                                                                                  plan to Expert and
                                                                                                                                  Plaintiffs. Provide
                                                                                                                                  backlog report from
                                                                                                                                  date of offer and
                                                                                                                                  backlog report 60 days
                                                                              Schedule staff and appointments for H & Ps to       from offer. Provide
                                                                              eliminate the backlog. Work with custody staff in monthly H&P reports
                             Develop and implement a plan to address the developing this plan to ensure access to patients. to include H&Ps                                        To be
                             backlog of appraisals that are overdue. The      The scheduling of these appraisals is also based completed,                                        completed
                             plan needs to include deadlines and targets to upon a prioritization of need. Report progress at timeliness, and                                    in Qtr. 4 - by
                           4 completion.                                      weekly meetings with MDC.                           backlog.                                       1/1/23
